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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 MICHAEL PICKENS,                                   :
                                                    :
                  Plaintiff,                        :
                                                    :
         v.                                         : CASE NO.            20-1622
                                                    :
 PORTFOLIO RECOVERY                                 :
 ASSOCIATES, LLC,                                   :
                                                    :
                  Defendant.                        :
                                                    :


                                     NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that on this date, Defendant Portfolio Recovery Associates,

LLC hereby removes the above-captioned matter to this Court from the Court of Common Pleas

of Allegheny County, Pennsylvania and in support thereof avers as follows:

       1.        Portfolio Recovery Associates, LLC. is a defendant in a civil action originally filed

on June 3, 2020 in the Court of Common Pleas of Allegheny County, Pennsylvania titled Michael

Pickens v. Portfolio Recovery Associates, LLC and docketed to Case No. GD-20-006434.

       2.        The removal is timely under 28 U.S.C. § 1446(b). PRA received service of

Plaintiff’s Complaint by certified mail on October 13, 2020.

       3.        Pursuant to 28 U.S.C. § 1446, attached here as Exhibit A are copies of all process,

pleadings, and orders filed in the state court action.




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       4.      The District Court 1 has original jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, in that Plaintiff has filed claims against PRA alleging violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq.

       5.      On this date, PRA has provided notice of this Removal to counsel for Plaintiff and

to the Court of Common Pleas of Allegheny County, Pennsylvania.

       WHEREFORE, Defendant Portfolio Recovery Associates, LLC respectfully removes this

case to the United States District Court for the Western District of Pennsylvania.

                                       Respectfully submitted,

                                       MESSER STRICKLER, LTD.

                               By:     /s/ Lauren M. Burnette
                                       LAUREN M. BURNETTE, ESQUIRE
                                       PA Bar No. 92412
                                       12276 San Jose Blvd.
                                       Suite 718
                                       Jacksonville, FL 32223
                                       (904) 527-1172
                                       (904) 683-7353 (fax)
                                       lburnette@messerstrickler.com
                                       Counsel for Defendant

Dated: October 26, 2020




1
 Plaintiff commenced this claim in Allegheny County, Pennsylvania notwithstanding the fact that
his alleged causes of action arose in York County, Pennsylvania which lies within jurisdiction of
the U.S. District Court for the Middle District of Pennsylvania. See Plaintiff’s Complaint, ¶ 1.
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                              CERTIFICATE OF SERVICE

       I certify that on October 26, 2020, a true copy of the foregoing document was served

as follows:

 Via Email and US Mail Postage Prepaid            Via Electronic Filing
 Joshua P. Ward                                   Court of Common Pleas
 Kyle Steenland                                   Allegheny County
 The Law Firm of Fenters Ward                     414 Grant St.
 The Rubicon Building                             Pittsburgh, PA 15219
 201 South Highland Avenue
 Suite 201
 Pittsburgh, PA 15206
 JWard@FentersWard.com
 KSteenland@FentersWard.com
 Counsel for Plaintiff




                                   MESSER STRICKLER, LTD.

                            By:    /s/ Lauren M. Burnette
                                   LAUREN M. BURNETTE, ESQUIRE
                                   PA Bar No. 92412
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                                   Suite 718
                                   Jacksonville, FL 32223
                                   (904) 527-1172
                                   (904) 683-7353 (fax)
                                   lburnette@messerstrickler.com
                                   Counsel for Defendant

Dated: October 26, 2020




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